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                                                                              UNITED STATES DISTRICT COURT
                                                                                   DENVER, COLORADO
                                                                                        11/16/17
                                                                                JEFFREY P. COLWELL, CLERK
From:      Linda Soltis <l_soltis@yahoo.com>
To:        <jackson_chambers@cod.uscourts.gov>,
Cc:        <orrlaw@orrlaw.com>, <scoleman@bwslaw.com>, <kgruenberg@bwslaw.com>,
           <jeff.whitney@huschblackwell.com>
Date:      11/16/2017 12:36 PM
Subject:   Case 1:17-CV-02286-RBJ Lange et al v. Alcohol Monitoring Systems, Inc. et al - Scheduling
           Conference Nov 20, 2017



November 16, 2017
The Honorable R. Brook Jackson
United States District Court
For the District of Colorado
RE: Case 1:17-CV-02286-RBJ Lange et al v. Alcohol Monitoring Systems, Inc. et
al – Nov 20, 2017 Scheduling Conference
Dear Judge Jackson:
My name is Linda C. Soltis, and I am from the State of Ohio and a plaintiff on
the above-referenced case.
I understand that it is unusual for me to write directly to you instead of
going through counsel. Yet due to the ambiguousness of the lawyers, I find it
necessary to do so and beg your indulgence.
I have spoken to and emailed Attorney Rhidian D. W. Orr regarding this
information as well, and did inform him that I would either be writing a
letter or appearing personally in Colorado on November 20, 2017, regarding the
background and truth surrounding the current attorney situation on the case.
Attorney Orr has verbalized and provided me copies of his Motion to Withdraw
as Counsel from the case. Originally, I was told that he was attempting to
withdraw due to Attorney William LeFaiver indicating that the case was filed
illegally by Anthony Oliver using his credentials. By an email copy I
received, you have also been informed that Mr. LeFaiver is alleging such
misconduct my Anthony Oliver. I have communicated to Attorney Orr, that I
have evidence that such behavior that Mr. Lefaiver is alleging of Anthony
Oliver is false.
Attorney Orr has also indicated that he wishes to withdraw from the case since
he cannot adequately represent us without additional legal representation to
assist in the process. I have informed Mr. Orr that I object to his withdraw
and do not quite understand nor agree with him having such a request so
shortly after the filing of the complaint.
Additionally, I find the allegations Mr. LeFaiver is making on not authorizing
the filing of the complaint, etc., to be, at least, confusing and worrisome.
After Mr. LeFaiver expressed an interest in being involved in this case, I was
the person who assisted getting him, Anthony Oliver and Attorney Edwin Aimufua
in touch with each other.   I have also delivered information to Mr.
LeFaiver’s residence and met him at a local Dunkin Donuts regarding this case,
and he has asked me, via text, whether or not I object on different aspects of
the case.
Your Honor, I am willing to testify under oath to this information, and/or
provide you with the emails, texts and any other hard evidence I may have
regarding Mr. LeFaiver’s knowledge of his involvement on this case and the
filing of the complaint. Mr. LeFaiver was also provided a money order from
another plaintiff on this case for expenses and I was advised, in writing,
that the money order was deposited by Mr. LeFaiver.
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The overall message I am attempting to communicate is that regardless of your
findings on the conduct of these attorneys, I do believe that we have a valid
claim with valid evidence, etc. to support the complaint and unjust harm each
of us has experienced due the the current practices of Alcohol Monitoring
Systems, Inc.
I find it imperative that Civil Rights do not continue to be violated by the
actions of Alcohol Monitoring Systems, Inc. and beg that you not dismiss our
case and that, if need be, allow ample time for us to seek new counsel.
Your Honor, with the utmost respect, I thank you for your consideration and
time.
Sincerely,
Linda C. Soltis
133 Hazel Drive
Northfield Center, OH 44067
Cc:         Attorney Rhidian D. W. Orr
       Attorney Susan E. Coleman
       Attorney Kristina D. Gruenberg
       Attorney Jeff Whitney
       Attorney William LeFaiver (via facsimile)
